       Case 2:07-cr-00212-MEF-WC Document 19 Filed 09/21/07 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          CASE NO. 2:07-cr-212-MEF
                                               )                     (WO)
SHANTEL MONIQUE ROBINSON                       )

                                        ORDER

       On September 20, 2007, the defendant filed a Motion to Continue (Doc. #13). While

the granting of a continuance is left to the sound discretion of the trial judge, United States

v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), the court is, of course, limited by the

requirements of the Speedy Trial Act, 18 U.S.C. § 3161. The Speedy Trial Act provides

generally that the trial of a defendant in a criminal case shall commence within 70 days of

the latter of the filing date of the indictment or the date the defendant appeared before a

judicial officer in such matter. 18 U.S.C. §3161(c)(1). See United States v. Vasser, 916

F.2d 624 (11th Cir. 1990).

       The Act excludes from this 70 day period any continuance that the judge grants "on

the basis of his findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial." 18 U.S.C. § 3161(h)(8)(A).

       The motion states that defense counsel was appointed to represent the defendant on

September 19, 2007 and does not feel that she has adequate time to prepare for trial and

consider all defenses to the counts as alleged in the indictment. Consequently, the court

concludes that a continuance of this case is warranted and that the ends of justice served by
       Case 2:07-cr-00212-MEF-WC Document 19 Filed 09/21/07 Page 2 of 2




continuing this case outweighs the best interest of the public and the defendant in a speedy

trial. See United States v. Davenport, 935 F.2d 1223, 1235 (11th Cir. 1991)(reasonable time

necessary for effective preparation is a significant factor for granting a continuance under the

Speedy Trial Act).

       Accordingly, it is hereby ORDERED:

       1. That the defendant's motion filed on September 20, 2007 is GRANTED;

       2. That the trial of this case is continued from the October 2, 2007 trial term to the

January 14, 2008 trial term.

       3. That the Magistrate Judge conduct a pretrial conference prior to the January 14,

2008 trial term.

       DONE this 21st day of September, 2007.




                                                    /s/ Mark E. Fuller
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               2
